Case 2:05-cr-80025-VAR-RSW ECF No. 807, PageID.11960 Filed 01/06/12 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff,                  CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
 v.

 D-2 NORMAN DUNCAN,

                 Defendant.
 _________________________________/

                                         ORDER
 I.    INTRODUCTION

       This matter is before the Court on the Government’s motion in limine to admit

 evidence under Federal Rule of Evidence 404(b) (Doc. 791). On December 28, 2011,

 the Court issued an order scheduling an evidentiary hearing. A hearing was held on

 January 5, 2012. Though the Government originally sought to introduce 404(b)

 evidence regarding a 2000 armed robbery attempt and a 2004 armed robbery attempt,

 at the hearing the Government said it no longer sought to introduce evidence regarding

 the 2000 armed robbery attempt.

       The Government’s motion is MOOT as to the 2000 armed robbery attempt. The

 Court GRANTS the motion as to the 2004 armed robbery attempt.

 II.   BACKGROUND AND ANALYSIS

       On October 26, 2005, Defendant Norman Duncan was indicted in the Eastern

 District of Michigan for his role in a 2001 robbery and murder of a guard at the Dearborn

 Federal Credit Union, and a 2003 robbery of a Comerica Bank located at 13400 W.



                                        Page 1 of 5
Case 2:05-cr-80025-VAR-RSW ECF No. 807, PageID.11961 Filed 01/06/12 Page 2 of 5




 Chicago, Detroit.

        The Government alleges that Duncan was involved in a nearly identical crime: a

 2004 attempted robbery at the same Comerica Bank as the 2003 robbery for which

 Duncan was indicted. In May 2004, Defendant pled guilty to the 2004 attempted

 robbery and is now incarcerated on that conviction.

        The Government moved the Court to allow admission under Fed. R. Evid. 404(b)

 of evidence relating to the 2004 crime, as evidence that Duncan is guilty of the 2003

 Comerica Bank robbery. The Government says this crime is admissible to show

 knowledge, and a pattern, or modus operandi, of a common plan or scheme. The

 Government provided a list of numerous alleged similarities between the 2004

 Comerica Bank robbery attempt, and the 2003 Comerica Bank robbery.

        At the evidentiary hearing, the Government reiterated the similarities between the

 2003 robbery and the 2004 robbery attempt. Both: occurred at the same branch of

 Comerica Bank; involved the same armored truck company, Guardian; occurred at

 approximately 9:30-9:45 p.m.; involved a 9 mm handgun; and, in both, the robbers

 surveilled the bank to determine the night when the ATMs were replenished. The

 Government also stated that the method of execution for the two crimes is particularly

 persuasive as modus operandi evidence; in both, Defendant allegedly ambushed

 guards from a moving vehicle, firing multiple times without warning.

        The Government says that one of the guard victims of the 2004 robbery attempt,

 Anthony Boiko, will testify at trial to the details of the crime. The Government also says

 that it is in the process of obtaining Defendant’s plea transcripts from his 2004 guilty

 plea and conviction in state court. Lastly, the Government says it will provide the Court

                                         Page 2 of 5
Case 2:05-cr-80025-VAR-RSW ECF No. 807, PageID.11962 Filed 01/06/12 Page 3 of 5




 with statements Defendant made to police regarding surveillance prior to the 2004

 attempt.

        Defendant expressed concerns that admission of evidence regarding the 2004

 attempt would confuse the jury and unduly prejudice him. Defendant believes that

 admission of evidence about the death of Defendant’s friend, Eddie Cromer, during the

 2004 robbery would confuse the jury because the jury would then have two deaths to

 consider, despite the fact that Defendant is charged only in connection with the one

 death that occurred at the Dearborn Federal Credit Union. Defendant also says

 evidence of Cromer’s death would prejudice him by association. Defendant disputes

 that the 2004 robbery has any probative value at all; he expressed doubts that the

 alleged similarities rise to the level of a distinct signature admissible as modus operandi

 evidence.

        Federal Rule of Evidence 404(b) states in relevant part:

        (b) Other Crimes, Wrongs, or Acts—Evidence of other crimes, wrongs, or acts is
        not admissible to prove the character of a person in order to show action in
        conformity therewith. It may, however, be admissible for other purposes, such as
        proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or
        absence of mistake or accident....

 Before admitting 404(b) evidence, the Court must: (1) make a preliminary finding that

 sufficient evidence exists that the other act occurred; (2) determine whether the other

 act is admissible for a proper purpose under Rule 404(b); and (3) determine whether the

 evidence’s probative value is substantially outweighed by the danger of unfair prejudice.

 United States v. Allen, 619 F.3d 518, 523 (6th Cir. 2010).

        Defendant’s guilty plea and conviction satisfy step one of this test: that sufficient

 evidence exists that the act occurred. The Court also finds that the 2004 attempt is

                                         Page 3 of 5
Case 2:05-cr-80025-VAR-RSW ECF No. 807, PageID.11963 Filed 01/06/12 Page 4 of 5




 admissible to show modus operandi and knowledge. In order for other crimes to be

 admissible as evidence of modus operandi, they must be so unique as to constitute a

 signature. United States v. Perry, 438 F.3d 642, 648 (6th Cir. 2006). They need not be

 identical in every detail, though. United States v. Hamilton, 684 F.2d 380, 85 (6th Cir.

 1982). As the Government pointed out at the hearing, the 2003 robbery and the 2004

 robbery attempt are nearly identical in every respect. Additionally, the ambush

 technique allegedly used by Defendant in both robberies is sufficiently unique to

 separate these crimes from run of the mill bank robberies, and to constitute a signature.

 The 2004 crime may also be introduced to show knowledge: the Government alleges

 that Defendant formerly worked for Guardian, had driven the Guardian route as an

 employee, and knew the policies and procedures of the Guardian employees refilling

 the ATMs. This knowledge would have facilitated Defendant’s commission of the

 crimes.

        Lastly, the evidence’s probative value is not substantially outweighed by the

 danger of unfair prejudice. The Government is forbidden from mentioning anything

 regarding Eddie Cromer’s death in connection with the 2004 robbery attempt.

 Additionally, the Government will provide the Court with a limiting instructing that will be

 read to the jury prior to the introduction of any 404(b) evidence and when the jury is

 charged.

 III.   CONCLUSION

        For these reasons, the Government may introduce evidence of the 2004 armed




                                         Page 4 of 5
Case 2:05-cr-80025-VAR-RSW ECF No. 807, PageID.11964 Filed 01/06/12 Page 5 of 5



 robbery attempt to show modus operandi and knowledge. The Government’s motion is

 GRANTED.

        IT IS ORDERED.


                                                    S/Victoria A. Roberts
                                                    Victoria A. Roberts
                                                    United States District Judge

 Dated: January 6, 2012

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  January 6, 2012.

  S/Linda Vertriest
  Deputy Clerk




                                                  Page 5 of 5
